      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 1 of1 18
                                                                 Page     of 18



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                    MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                               SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

______________________________________________________________________________

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
               PLAINTIFFS’ MASTER LONG FORM COMPLAINT
______________________________________________________________________________

       Plaintiffs fail to plead the elements of their claims. Additionally, the Master Complaint

does not provide the individual Defendants with adequate notice of specific conduct that

allegedly warrants liability. Plaintiffs do not sufficiently address this failure in their Opposition.1

Instead, they ask the Court to apply a lower pleading standard because this is a Multidistrict

Litigation (“MDL”). But that is not the law, or a common practice in MDL courts.

       First, federal pleading requirements apply equally in MDLs—no authority states

otherwise. Second, Plaintiffs have not satisfied those requirements. Plaintiffs’ boilerplate and

repetitive Master Complaint (1) fails to adequately give Defendants notice of their alleged

wrongful conduct; (2) fails to plead any plausible facts regarding causation; (3) fails to cite a

single relevant express statement by any Defendant that was misleading (required for both strict

liability for misrepresentation and breach of express warranty); and (4) fails to plead allegations




1
 See Memorandum in Opposition to Defendants’ Motion to Dismiss Plaintiffs’ Master Long Form
Complaint (Rec. Doc. 704) (“Pls.’ Opp.”).


                                                  1
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-14 773
                                  Document    Filed 05/22/23
                                                  Filed 08/25/17Page 2 of2 18
                                                                  Page     of 18



of fraud with particularity. For these reasons, Plaintiffs have not stated a claim upon which relief

can be granted and their Master Complaint2 should be dismissed. See FED. R. CIV. P. 12(b)(6).

    I.      The Federal Rules of Civil Procedure Apply Equally Here

         Plaintiffs repeatedly argue that the Court should relax the federal pleading requirements

and that the Master Complaint should be interpreted “in light of [its] administrative purpose.”3

But that reasoning—which surfaces in all of Plaintiffs’ arguments—has been squarely rejected

by MDL courts and criticized as a significant problem with MDLs. The Zofran MDL court, for

example, recognized that the “creation of an MDL proceeding does not suspend the requirements

of the Federal Rules of Civil Procedure, nor does it change or lower the requirements of those

rules.” In re Zofran (Ondansetron) Prods. Liab. Litig., No. 1:15-md-2657, 2017 WL 1458193, at

*5 (D. Mass. Apr. 24, 2017). Likewise, in the Obtape MDL, the court noted its concern that

MDLs produce incentives to file cases and claims that “otherwise would not be filed if they had

to stand on their own merit as a stand-alone action.” In re Mentor Corp. Obtape Transobturator

Sling Prods. Liab. Litig., No. 4:08-md-2004, 2016 WL 4705827, at *1 (M.D. Ga. Sept. 7, 2016).

         No authority—statute, rule, or case—“relaxes” the Federal Rules’ pleading requirements

in MDLs. Nor does any authority morph all MDL master and short form complaints into

“administrative” documents that should not be ruled on by the court. Though some MDL courts

have decided not to make Rule 12(b)(6) determinations, they have done so because of the unique

circumstances and timing of those MDLs, not because pleadings in all MDLs are


2
  See Plaintiffs’ First Amended Long Form Complaint and Demand for Jury Trial (Rec. Doc. 689) (“Am.
Compl.”).
3
  See, e.g., Pls.’ Opp. at 8 (citing “special concerns” for MDL courts); id. at 11 (claiming conclusory
allegations of causation are sufficient “in light of the purpose the Master Complaint”); id. at 17 (claiming
that Rule 8’s pleading requirements for breach of express warranty are “relaxed” and that Plaintiffs
should be given “substantial leniency”); id. at 22 (claiming that Plaintiffs cannot state fraud allegations
with traditional particularity given the “administrative purposes of a Master Complaint”).


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      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 3 of3 18
                                                                 Page     of 18



“administrative.” See In re Nuvaring Prods. Liab. Litig., No. 4:08-md-1964, 2009 WL 4825170,

at *1 (E.D. Mo. Dec. 11, 2009) (declining to rule on hundreds of individual Rule 12(c) and

12(b)(6) motions where defendant had answered individual complaints months before the master

complaint was filed, “neither [the] Plaintiffs nor [the Court] intended the master complaint to be

subject to pleadings challenges,” and the Court had vacated its previous order requiring the

master complaint to be filed at all.). If the Federal Rules’ pleading requirements are to have any

meaning at all, they must be applied and enforced by the MDL court “at the relative outset of a

proceeding, not after months or years of discovery and motion practice.” In re Zofran, 2017 WL

1458193, at *5; see also In re Mentor Corp., 2016 WL 4705827, at *2 (imploring MDL courts to

consider approaches to weed out non-meritorious claims “early, efficiently, and justly”).

       Contrary to Plaintiffs’ suggestion, the Trasylol and Zimmer MDL courts did not

unilaterally create a new “substantial leniency” pleading standard for MDL plaintiffs. In fact,

citing those very cases, the Zofran MDL court rejected the idea that the pleading requirements

for MDL plaintiffs are somehow different than in other cases, noting that the “complaint” in an

MDL is comprised of both the master and short form complaints. In re Zofran, 2017 WL

1458193, at *5–6 (“To the extent plaintiffs suggest that [the pleading requirements] should not

be enforced by the [MDL] court, as it may require individualized determinations as to the

adequacy of individual complaints, that assertion is likewise incorrect.”) (citing In re Trasylol

Prods. Liab. Litig., No. 08-md-1928, 2009 WL 577726, at *9 (S.D. Fla. Mar. 5, 2009); In re

Zimmer Nexgen Knee Implant Prods. Liab. Litig., No. 11-cv-5468, 2012 WL 3582708, at *4

(N.D. Ill. Aug. 16, 2012)).

       Plaintiffs also blur the distinction between case-specific allegations (those that are

specific to a particular case) and defendant-specific allegations (those that are specific to a



                                                3
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-14 773
                                  Document    Filed 05/22/23
                                                  Filed 08/25/17Page 4 of4 18
                                                                  Page     of 18



defendant but could be common across cases). Plaintiffs’ attempt to interpose a non-existent

“leniency” standard ignores the reality that whether in their Master or Short Form Complaints,

Plaintiffs must satisfy the federal pleading requirements and plead all the necessary elements of

their respective legal theories against the individual Defendants. That does not change when a

case is in an MDL for coordinated proceedings. See id.

    II.      Plaintiffs Do Not Satisfy the Federal Rules’ Pleading Requirements or Plead the
             Necessary Elements of Their Claims

          First, the Master Complaint fails to connect any specific facts to any claims asserted by

Plaintiffs, and improperly lumps distinct and unrelated Defendants together. Such a “shotgun”

pleading does not provide Defendants fair notice, much less comply with Federal Rules of Civil

Procedure 8 and 10. Second, Plaintiffs fail to allege plausible facts supporting causation. Third,

the Master Complaint does not cite any express statement or promise made by any Defendant (a

necessary allegation for both strict liability for misrepresentation and breach of express

warranty). Finally, Plaintiffs fail to allege the “who, what, when, where, or how” that is required

by Federal Rule of Civil Procedure 9(b) for their fraud-based allegations.          Each of these

deficiencies is fatal to their claims.

             a. “Shotgun Pleading”: Plaintiffs’ Master Complaint Does Not Satisfy Pleading
                Requirements Because Its Vague and Irrelevant Allegations Do Not Put
                Defendants on Notice of Their Alleged Wrongful Conduct

          Plaintiffs’ Master Complaint is a shotgun pleading.      A “typical shotgun complaint

contains several counts, each one incorporating by reference the allegations of its predecessors,

leading to a situation where most of the counts (i.e., all but the first) contain irrelevant factual

allegations and legal conclusions.” Strategic Income Fund, L.L.C. v. Spear, Leeds & Kellogg

Corp., 305 F.3d 1293, 1295 (11th Cir. 2002). Plaintiffs’ Master Complaint does the same.




                                                  4
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 5 of5 18
                                                                 Page     of 18



Paragraphs 4–219 consist of an extended narrative of “factual allegations,” while Paragraphs

220–318 purport to set out eight “claims for relief.”

       In reality, however, those eight claims either incorporate all of the prior allegations by

reference, or simply recite only the elements of common product liability causes of action in a

boilerplate fashion. Worse yet, Plaintiffs lump all Defendants together. That does not provide

individual Defendants with fair notice. And it does not comply with either Rule 8 or 10. See,

e.g., Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001); Atuahene v. City of Hartford, 10

F. App’x 33, 34 (2d Cir. 2001) (“By lumping all the defendants together in each claim and

providing no factual basis to distinguish their conduct, [the] complaint failed to satisfy [the]

minimum standard [of Rule 8].”); see also Am. Resources Ins. Co., Inc. v. Evoleno Co., LLC, No.

07-cv-0035, 2007 WL 8082473, at *3 (S.D. Ala. July 30, 2007) (“The vagueness of the factual

allegations and which defendants they impact is exacerbated by the counts. Each purports to

incorporate by reference every single preceding paragraph, despite the patent inapplicability of

some and the dubious applicability of others.”).

       Plaintiffs’ Master Complaint is deficient in both respects.        It contains hundreds of

paragraphs about “Defendants” generally, rarely distinguishing between them, and then

incorporates every paragraph into each claim. This leaves each Defendant unable to determine

what specific conduct allegedly supports liability under any particular legal theory.

       Plaintiffs make no effort to address these problems in their Opposition. Instead, they ask

for “substantial leniency” because they cannot plead “case-specific” allegations in the Master

Complaint. See Pls.’ Opp. at 8; supra Section I. The legal insufficiencies, however, have

nothing to do with “case-specific” allegations. No case-specific analysis is required for Plaintiffs

to plead the discrete conduct of each particular Defendant. Nor does it take any case-specific



                                                   5
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 6 of6 18
                                                                 Page     of 18



analysis for Plaintiffs to plead a “short and plain statement” for each legal count. See FED. R.

CIV. P. 8(a)(2). If Plaintiffs’ theories do require case-specific allegations, Plaintiffs must still

plead them, either in the Master or Short Form Complaint. See In re Zofran, 2017 WL 1458193,

at *5-6.

       Plaintiffs have thus failed to state a claim for relief and the Master Complaint should be

dismissed. See FED. R. CIV. P. 12(b)(6); Atuahene, 10 F. App’x at 34.

           b. Failure to Plead Causation: Plaintiffs Do Not Allege Facts that Plausibly
              Show Defendants’ Conduct Caused Plaintiffs’ Injury

       Causation—both proximate and but-for—is a necessary element for each of Plaintiffs’

legal theories. See Mot. to Dismiss at 7 (citing authority).4 Like all allegations, allegations of

causation cannot be bare and conclusory, but must be specific and plausible. Id. at 2–3; see also

Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009). For pharmaceutical product liability cases, this

means that a plaintiff cannot just state that a product caused an injury, or even that its

manufacturer failed to warn of a particular risk. See Mot. to Dismiss at 7–8 (collecting cases);

see also Ackermann v. Wyeth Pharm., 526 F.3d 203, 208 (5th Cir. 2008). Rather, a plaintiff must

show that the defendant’s conduct was the “producing cause” of the injury—that is, “that a

proper warning would have changed the decision of the treating physician.” Id. (quoting Willett

v. Baxter Int’l, Inc., 929 F.2d 1094, 1099 (5th Cir. 1991)). Determining whether that has been

done is “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Iqbal, 556 U.S. at 679. Plaintiffs have not made such a

showing here.




4
 See Defendants’ Memorandum in Support of Their Motion to Dismiss Plaintiffs’ Master Long Form
Complaint (Rec. Doc. 489) (“Mot. to Dismiss”).


                                                 6
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 7 of7 18
                                                                 Page     of 18



       Plaintiffs’ claim that they “would not have used” docetaxel is implausible. Plaintiffs each

had cancer. See Am. Compl. at ¶ 5. Though undoubtedly different, each Plaintiff faced a severe

enough disease that her physician advised, and she agreed, that the potentially life-extending

benefits of docetaxel outweighed its listed and known side-effects including neutropenia,

anemia, leukopenia, cardiovascular issues, neuropathy, edema, a host of possible allergic

reactions, and death. Having accepted these risks and undergone treatment with docetaxel,

Plaintiffs survived for months, years, or even decades—and counting.

       On its face, then, Plaintiffs’ allegation that they “would not have used” docetaxel is

implausible because it suggests that not only Plaintiffs, but also their treating physicians would

have foregone potentially life-saving treatment against the possibility of persistent hair loss.

Plaintiffs’ suggestion is that even a small risk of prolonged alopecia necessarily outweighs both

the severe side-effects of chemotherapy and the consequences of cancer itself. Perhaps Plaintiffs

acknowledge that this is implausible because instead of making such statements, they argue that

their Master Complaint “implicitly” alleges causation. If those logical steps exist, Plaintiffs

should articulate them. Not doing so only makes Plaintiffs’ allegations insufficient as well as

implausible. Cf. Kelly v. Broward Sheriff’s Office Dep’t of Det.’s, 560 F. App’x 818, 821 (11th

Cir. 2014) (“bare and at best implicit factual allegations are insufficient to state a claim”).

       One way that Plaintiffs attempt to obscure this issue further is by vaguely stating that

their physicians would have prescribed “effective alternatives” to docetaxel if differently warned.

See Am. Compl. at ¶ 5; Pls.’ Opp. at 12. This is likewise both insufficient and implausible.

Docetaxel and other chemotherapy agents each have complex and distinct medical properties,

risks, and benefits. Highly individualized cancer treatment regimens are studied and prescribed

for their variable effects and efficacy based on myriad factors including, inter alia, a patient’s



                                                   7
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 8 of8 18
                                                                 Page     of 18



pre-existing health conditions (including age, menopausal status, other disease, etc.), cancer

diagnoses and prognoses (including stage and type; tumor number, size, grade, and location;

hormone receptor status; HER2 status; node positivity; metastasization; recurrence, etc.),

previous cancer treatments (including surgery, radiation, etc.), and unique risk profiles for severe

and life-threatening side effects. Many—if not all—Plaintiffs in this MDL underwent other

extensive cancer treatment before, during, and after using docetaxel. This undermines causation

both because other treatments may in fact have been the cause of any hair loss, and because past

and concurrent treatments further limit the chemotherapy options for a particular patient. Again,

Plaintiffs stop short of naming a specific treatment alternative offering as great or greater

benefits with less risk for Plaintiffs within the rubric of the physician decision.5 Thus, Plaintiffs’

allegations are again both insufficient and implausible.

       In sum, Plaintiffs’ Master Complaint lacks factual allegations that, if proven true, would

establish that absent Defendants’ conduct, Plaintiffs would not have persistent hair loss. As

such, Plaintiffs fail to state any claim upon which relief can be granted and their Master

Complaint must be dismissed. See FED. R. CIV. P. 12(b)(6).

           c. Failure to Plead Express Misstatements: Plaintiffs Do Not Allege Defendants
              Made Any Express Statements About Docetaxel and Persistent Hair Loss

       Plaintiffs’ Strict Liability for Misrepresentation and Breach of Express Warranty claims

require Plaintiffs to point to some express language that constitutes the supposed

misrepresentation or warranty. Plaintiffs do not point to any such statements here, and their

claims must fail.

5
  Discussing causation, Plaintiffs again ask for leniency and again ignore their opportunity—and
obligation—to provide individualized factual allegations through their Short Form Complaints. See Pls.’
Opp. at 12 (“More specific allegations of causation could not, as a practical matter, be included in the
Master Complaint.”); In re Zofran, 2017 WL 1458193, at *6 (plaintiff-specific allegations “should
normally be set forth in the individual short-form complaint.”).


                                                   8
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-14 773
                                  Document    Filed 05/22/23
                                                  Filed 08/25/17Page 9 of9 18
                                                                  Page     of 18



                     i. Strict Liability for Misrepresentation: Plaintiffs do not allege that
                        Defendants made any express misrepresentations about the risk of
                        persistent alopecia

        In the minority of jurisdictions where strict liability for misrepresentation is even a cause

of action, a plaintiff must allege “an affirmative representation of material fact regarding the

character or quality of the product.” English v. Suzuki Motor Co., Ltd., No. 92-CV-195-G, 1997

WL 428565, at *7 (10th Cir. 1997) (unreported); see also RESTATEMENT (SECOND) TORTS §

402B (1965); Mot. to Dismiss at 11–12 (citing authority). Plaintiffs do not dispute that.6

        Yet Plaintiffs do not cite any express statement by any Defendant about persistent

alopecia that was supposedly misleading.            Instead, they argue that Defendants “positioned

[docetaxel] as [] safe and effective,” “directed its U.S. sales force to misrepresent the safety and

effectiveness of the off-label use of [docetaxel] . . . ,” and made misleading statements about

efficacy in advertisements. See Pls.’ Opp. at 14 (citing Am. Compl. at ¶¶ 191–213). None of

these are representations about persistent alopecia—the only injury alleged in these cases. There

are no claimed injuries turning on efficacy or the off-label marketing of docetaxel. To state a

claim for strict liability for misrepresentation, Plaintiffs cannot point to vague marketing

statements about efficacy and off-label use; they have to allege that Defendants made misleading

statements about persistent alopecia.

        Nowhere in Plaintiffs’ Master Complaint do they identify an express misrepresentation

about the risk of persistent alopecia by any Defendant. As such, they have failed to state a claim


6
  Plaintiffs do not dispute that they must allege an express misrepresentation to properly plead a strict
liability for misrepresentation claim. They seem to recognize what courts uniformly agree on: imposing
strict liability on a pharmaceutical company for something that it did not say about a product would flip
traditional tort law principles on its head and impose absolute liability. See, e.g., Am. Safety Equip. Corp.
v. Winkler, 640 P.2d 216, 218–21 (Colo. 1982) (“Strict tort liability for misrepresentation does not impose
an insurer status upon the manufacturer.”).



                                                     9
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-14 773
                                Document    Filed 05/22/23
                                                Filed 08/25/17Page 10 10
                                                                Page  of 18
                                                                         of 18



for strict liability for misrepresentation, and that claim should be dismissed. See FED. R. CIV. P.

12(b)(6).

                  ii. Breach of Express Warranty: Plaintiffs do not allege that the sanofi
                      Defendants made an express promise or warranty regarding Taxotere

       As with their claim for strict liability for misrepresentation, to plead a claim for breach of

express warranty, Plaintiffs must allege that the sanofi Defendants made a factual affirmation or

promise about Taxotere. Plaintiffs do not dispute this point. They cannot, however, state a

breach of express warranty claim by vaguely referring to a manufacturer’s representations about

“safety and effectiveness,” “side effects,” or “adequate[] test[ing].” See Am. Compl. at ¶¶ 196,

311–18. Courts, including this one, regularly dismiss complaints that are limited to those kinds

of generic allegations. For example, in Lussan v. Merk Sharp & Dohme Corp., this Court

dismissed a breach of warranty claim against a drug manufacturer because the plaintiff “fail[ed]

to offer any specifics as to [the manufacturer’s] representations that could amount to a warranty.”

No. 17-cv-3086, 2017 WL 2377504, at *3 (E.D. La. June 1, 2017). In Para v. Coloplast Corp.,

this Court also dismissed a breach of warranty claim against a drug manufacturer because the

complaint did “not allege with specificity anything about the express warranty, including when it

was made and who made it.” No. 16-cv-14696, 2017 WL 24794, at *6 (E.D. La. Jan. 3, 2017);

see also Baldwin v. Star Scientific, Inc., 78 F. Supp. 3d 724, 740 (N.D. Ill. 2015) (“Plaintiff’s

fuzzy, non-specific, alleged ‘statements’ made by ‘Defendants’ concerning [the drug’s] supposed

benefits are too sketchy to support an express warranty claim against any Defendant.”).

       Such allegations do not provide fair notice to sanofi because breach of express warranty

is a theory of contract law—not tort law—so the “language of the warranty itself dictates the

obligations of the parties.” Baldwin, 78 F. Supp. 3d at 740. Thus, allegations that can be copied-

and-pasted into any complaint about any drug do not support a claim that a defendant made a

                                                10
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-14 773
                                  Document    Filed 05/22/23
                                                  Filed 08/25/17Page 11 11
                                                                  Page  of 18
                                                                           of 18



specific promise to plaintiffs about the drug at issue. See Fisher v. APP Pharms. LLC, 783 F.

Supp. 2d 424, 431–32 (S.D.N.Y. 2011) (alleged warranty that drug was “safe for the use for

which it was intended” was insufficient to state a breach of warranty claim because plaintiff did

not allege “any specific words, promises or statements made by [the manufacturer . . .] that

would create an express warranty”). Plaintiffs make cut-and-paste allegations here. They allege

only generally that sanofi “expressly warranted” that Taxotere7 was “safe and fit for use for the

purposes intended.” See Am. Compl. at ¶ 312. They make equally vague allegations about

testing and side effects. See id.8

        Alternately, Plaintiffs would blur the distinction between contract and tort law by

reference to an extreme-minority and often-criticized tort theory9 of “innovator liability.”10 This

novel theory hinges on suppositions about the name-brand manufacturer’s alleged duties to non-

users and has nothing to do with contracts or breach of warranty. As such, Plaintiffs have no

basis in fact or law to assert that the sanofi Defendants can warrant a product that it did not sell.

7
 Plaintiffs also allege that sanofi expressly warranted products that it did not sell. See Am. Compl. at ¶
312. As discussed below, that argument is unavailing.
8
  Plaintiffs also make vague and conclusory allegations regarding reliance. See Mot. to Dismiss at 16. Yet
they have not attempted to show reliance in their Opposition. See Pls.’ Opp. at 16. Instead, they again
ask the Court to apply a new, relaxed pleading standard because they are in an MDL. The Court should
decline this request. See supra Section I. Because Plaintiffs must still plead all the necessary elements of
their cause of action—regardless of the fact that an MDL exists—and because they have failed to plead
reliance here, their breach of express warranty claim should be dismissed.
9
  As even the case cited by Plaintiffs acknowledges: “every other circuit court of appeals to consider this
issue [has] arrived at the same conclusion—a brand-name manufacturer cannot be held liable for injuries
caused by the ingestion of a generic produced by a third party.” McNair v. Johnson & Johnson, No. 15-
1806, 2017 WL 2333843, at * 2 (4th Cir. May 30, 2017); see also In re Zofran (Ondansetron) Prod. Liab.
Litig., No. 1:15-md-2657, 2017 WL 3448548, at *6 (D. Mass. Aug. 4, 2017) (same).
10
   Under this theory, plaintiffs in a small minority of jurisdictions have argued that a brand-name
manufacturer’s duty of care extends to consumers who foreseeably rely on the name-brand
manufacturer’s product information when purchasing generics, the claims against whose manufacturers
are otherwise preempted. See McNair, 2017 WL 2333843, at *3.



                                                    11
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 12 12
                                                                 Page  of 18
                                                                          of 18



       Plaintiffs have not pled the necessary facts to plausibly state a claim for breach of express

warranty. Nor have they shown how a manufacturer of a product can warrant a product it did not

sell or why Plaintiffs should be excused from pleading all the necessary elements of their claim,

including reliance.    Accordingly, Plaintiffs’ Breach of Express Warranty claim should be

dismissed.

             d. Failure to Plead Fraud with Particularity: Plaintiffs Provide No Particularity
                on Their Fraud-Based Allegations

       Federal Rule of Civil Procedure 9(b), which requires that allegations of fraud be plead

with particularity, applies to the allegations underlying Plaintiffs’ Strict Liability for

Misrepresentation, Negligent Misrepresentation, Fraudulent Misrepresentation, Fraudulent

Concealment, and Fraud and Deceit claims. To meet this particularity requirement, Plaintiffs

must allege the “who, what, when, where, and how” of the alleged fraudulent conduct. See, e.g.,

U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir. 1997);

see also Mot. to Dismiss at 4, 17–18 (citing authority regarding particularity requirement).

Plaintiffs do not dispute that their fraud allegations must be pled with particularity. Instead, they

argue (1) that the particularity requirement only applies to allegations as opposed to causes of

action—a distinction without a difference in Plaintiffs’ “shotgun” Complaint; and (2) that they

have met the pleading standard for fraud. Neither argument is persuasive.

       First, Plaintiffs argue that their misrepresentation claims (both strict liability and

negligence) are “not premised on allegations of fraud.” See Pls.’ Opp. at 18. To be sure, it is not

at all clear from the Master Complaint what allegations Plaintiffs think support these legal

theories, which is an entirely different reason their Master Complaint should be dismissed. See

supra Section II.a. (“Shotgun Pleading”). But the conduct that supposedly supports Plaintiffs’

strict liability and negligent misrepresentation causes of action, as plead by them, is allegedly

                                                 12
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-KDE-MBN        6-14 773
                                 Document    Filed 05/22/23
                                                 Filed 08/25/17Page 13 13
                                                                 Page  of 18
                                                                          of 18



fraudulent in nature.     Those allegations are therefore subject to Rule 9(b)’s particularity

requirement.

        For example, Plaintiffs claim that Defendants “negligently represented” that docetaxel

“had been tested and was found to be safe and/or effective for its indicated use.” See Am.

Compl. at ¶ 249.        They claim that Defendants’ representations were negligent because

“Defendants concealed their knowledge of . . . defects.” See id. at ¶ 250. A claim that

Defendants concealed their knowledge about the safety and efficacy of a drug is a fraud-based

allegation—no matter how Plaintiffs characterize it. The same reasoning applies to Plaintiffs’

strict liability for misrepresentation claim. The Master Complaint suggests, albeit poorly, that

Defendants made vague “misrepresentations” about docetaxel, and that they did so intentionally.

All legal theories based on those allegations are subject to Rule 9(b)’s pleading requirement,

including strict liability for misrepresentation and negligent misrepresentation.

        Second, Plaintiffs have not pled any of their fraud-based allegations with particularity

under Rule 9(b)’s particularity requirement (see Pls.’ Opp. at 21):

       Knowledge and concealment of docetaxel’s risks. See Am. Compl. at ¶¶ 148–68.

        These paragraphs list studies and news articles, apparently to show that Defendants had
        knowledge of the risk of persistent alopecia. But there is not a single factual allegation
        that Defendants took some action to conceal those risks from the public, Plaintiffs’
        prescribing physicians, or Plaintiffs (aside from simple conclusory statements that it
        happened). To the contrary, studies and news articles would be publically available.
        Additionally, there are no particular allegations regarding who supposedly concealed
        those risks, when they concealed those risks, or how and where they allegedly concealed
        those risks.

       “Misleading” and “fraudulent” marketing efforts. See id. at ¶¶ 190–212.

        These paragraphs make factual allegations about sanofi’s efforts to market Taxotere.
        And though they point to some specific statements made by sanofi in advertisements,
        none of those statements have anything to do with the risk of persistent alopecia—which

                                                 13
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-14 773
                                  Document    Filed 05/22/23
                                                  Filed 08/25/17Page 14 14
                                                                  Page  of 18
                                                                           of 18



         is the only injury alleged by Plaintiffs.11 Nowhere in the paragraphs cited by Plaintiffs
         are there allegations that state who, what, when, where, and how Defendants supposedly
         misrepresented the risk of persistent alopecia.

        Fraudulent “averments.” See id. at ¶¶ 259, 267, 270, 277, 284–96.

         These paragraphs restate Plaintiffs’ conclusory allegations. There is not a single factual
         allegation about who made the supposed averments, much less what was said, or how,
         where, or when it was said.

         Plaintiffs make numerous claims related to fraud. But they are not supported by factual

allegations regarding underlying circumstances. Plaintiffs only recourse is to ask the Court—

again—for “substantial leniency” and the “benefit of discovery” because this is an MDL. But

MDLs are not created to send Plaintiffs on fishing expeditions. In fact, MDL courts routinely

hold that “it is not appropriate to plead fraud claims in general terms, in the hope that discovery

will reveal greater particularity.” In re Zofran, 2017 WL 1458193, at *5 (“To the extent

plaintiffs suggest that Rule 9(b) should not be enforced by the [MDL] court, as it may require

individualized determinations as to the adequacy of individual complaints, that assertion is

likewise incorrect.”); In re Ford Motor Co. Speed Control Deactivation Switch Prods. Liab.

Litig., No. 05-md-01718, 2007 WL 2421480, at *10 (E.D. Mich. Aug. 24, 2007) (granting

motion to dismiss nine counts of master complaint, including consumer fraud act claims for

failure to meet 9(b) pleading requirement); see also In re Ford Motor Co. Vehicle Paint Litig.,

MDL No. 1063, 1996 WL 426548, at *3 (E.D. La. July 30, 1996) (dismissing fraudulent

misrepresentation claim in master complaint for failure to plead reliance).




11
  Plaintiffs allege that sanofi made misrepresentations about Taxotere’s off-label uses and its efficacy as
a chemotherapy drug. But Plaintiffs’ cases are not about the off-label use of Taxotere, nor are they about
efficacy. See supra Section II.c.i.


                                                    14
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-14 773
                                Document    Filed 05/22/23
                                                Filed 08/25/17Page 15 15
                                                                Page  of 18
                                                                         of 18



          Plaintiffs’ Strict Liability for Misrepresentation, Negligent Misrepresentation, Fraudulent

Misrepresentation, Fraudulent Concealment, and Fraud and Deceit claims fail to plead the

circumstances of the alleged fraud with particularity as required by Rule 9(b). Therefore, those

claims should be dismissed for failure to state a claim upon which relief can be granted.

   III.      Conclusion

          The federal pleading requirements apply with the same force in MDL proceedings as in

individual civil actions. Here, Plaintiffs have not satisfied those requirements because (1) they

failed to adequately give Defendants notice of the alleged wrongful conduct; (2) they failed to

plead any plausible facts regarding causation; (3) they failed to cite an express misleading

statement made by Defendants (required for both strict liability for misrepresentation and breach

of express warranty); and (4) they failed to plead their allegations of fraud with particularity.

Plaintiffs have thus failed to state a claim upon which relief can be granted and their Master

Complaint should be dismissed. See FED. R. CIV. P. 12(b)(6).


Dated: August 24, 2017




                                                  15
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-14 773
                                Document    Filed 05/22/23
                                                Filed 08/25/17Page 16 16
                                                                Page  of 18
                                                                         of 18



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                                          16
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-14 773
                                Document    Filed 05/22/23
                                                Filed 08/25/17Page 17 17
                                                                Page  of 18
                                                                         of 18




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                                          17
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-KDE-MBN        6-14 773
                                Document    Filed 05/22/23
                                                Filed 08/25/17Page 18 18
                                                                Page  of 18
                                                                         of 18



                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 24, 2017, I electronically filed the foregoing with the

Clerk of the Court using the ECF system which sent notification of such filing to all counsel of

record.



                                                            /s/ Douglas J. Moore




                                                18
